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AO 9| (Rev, ll/l ]] Crimina] Comp|uint

UNlTED STATES DISTRICT COURT

for the
Midd|e District of Florida

United States ofAmerica
v.

law/0 F

Neris Baca Herrera
afk/a Neris Herrera-Baca
elk/a Neris Amado Herrera

 

 

 

Defe:rdcm!(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of lVlarcl'_\ 8. 2019 in the county of DESOTO in the
|V|idd|e _ Disti'ict of florida , the defendant(s) violated:
C()de Secrr`on Ojj”ense Descr'fp[ion
18 U.S.C § 1546(3) Possession of Fa|se Visa or Other Document

8 U.S.C. § 1326(3) |Ilega| Reentry After Deportation.

'I`his criminal complaint is based on these i"acts:

if Continued on the attached sheet

 

n s Sr`gnazw'e

Roger Mas, Deportation Offlcer, ICE
Prr'med nmrre and title

Swom to before me and signed in my presence

Date: 03/20/2019
sz’ge 's Signu!m'e
Fort |V|yers, F|orida Doug[as N. Frazier, U.S. Magistrate Judge
Prr'r:!ed name and rifle

City and state:

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AFF]DAVIT

I, ROGER MAS, being duly sworn on oath depose and state the following:

l. I have been employed by United States Immigration and Customs
Enforcement (ICE) since May of 2009. I currently hold the position of
Deportation Ofiicer (DO), which I have held since September of 2015. As a DO,
my duties include the apprehension of aliens who are in the United States illegally
and the enforcement of the immigration laws, including offenses involving aliens
Who are believed to have reentered the United States after deportation Without
authorization from the Attorney General. This affidavit is based upon my
personal knowledge, as well as information which has been provided to me by

other law enforcement officers

2. On February 28, 2019, the Arcadia Police Department in DeSoto County,
Florida arrested Neris Baca Herrera, aka Neris Herrera-Baca, aka Neris Amado

Herrera, for the offense of trespassing

3. On March 2, 2019, the Interoperability Response Center (IRC) at the
Miarni Field Office located Neris Baca Herrera at the DeSoto County Jail, in
Arcadia, Florida and an immigration detainer was thereafter lodged. On March 8,
2019, Deportation Officer (DO) Orlando Reyes encountered Baca Herrera at the
DeSoto County Jail and placed the subject under administrative arrest for Illegal

Reentry into the United States. Through a field interview, DO Reyes Was able to

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establish that Baca Herrera Was the same subject Who had been previously
removed from the United States. Baca Herrera’s biographical information was
consistent with previously-known information from law enforcement databases.
As per ICE arrest procedure, Baca Herrera’s fingerprints Were rolled, scanned, and
electronically submitted into the Federal Bureau of lnvestigations’ Next
Generation Identification (NGI). Baca Herrera’s fingerprints were also processed
through the Department of Horneland Security’s Automated Biometric
Identification System (IDENT), Which resulted in his fingerprints matching a

record of a previously deported alien under Alien File 201~235-773.

4. On the date of his administrative arrest on March 8, 2019, Baca Herrera
was found in possession of a Lawful Permanent Resident (LPR) card which
contained his photo, the name Neris Amado Herrera, and USCIS alien
registration number 094~254-865 .

5. A Certificate of Nonexistence of Record obtained from the United States
Citizenship and Immigration Services on March 15, 2019 revealed that USCIS
alien registration number 094-254-865, Which was contained on the LPR card
found in the possession of Baca Herrera on March 8, 2019, was assigned to
another individual and not to Neris Baca Herrera. Further, immigration/ICE
system checks revealed that alien registration number 094-254-865 is assigned to
an individual with initials S.S.E., who is a citizen and native of Honduras, and

currently resides in Houston, Texas.

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6. On March 8, 2019, DO Reyes read Baca Herrera his Mz'randa warnings, and
Baca Herrera agreed to give a sworn statement and admitted to being a citizen and

native of Honduras and being illegally in the United States.

7. A search of the ICE computer databases revealed that alien number 201-
235-773 was assigned to Neris Baca Herrera, a citizen and native of Honduras. I
subsequently reviewed all requested documents contained in the Alien File
pertaining to A201-235-773. Contained in the documents was a Removal Order
issued by an lmmigration Judge in Miami, Florida, on November ll, 2011. This
order was issued based upon the charges on the Notice to Appear (1-862) pursuant
to Section 212(a)(6)(A)(i) of the Immigration and Nationality Act, as amended.
Also contained in the Alien File was a Warrant of Removal/Deportation (1-205)
dated June 27, 2013. The Warrant of Removal/Deportation (1-205) contained a
photograph and fingerprint of the subject, as well as the location of the subject’s
removal/ deportation from the United States. The executed Warrant of
Rernoval/Deportation revealed that Baca Herrera Was deported from the United

States to Honduras on J unc 27, 2013, from Phoenix, Arizona.

8. Also contained in Alien File 201-235-773 is a copy of a Honduran

Temporary Travel Pass issued on June 6, 2013.

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9. Subsequent to his deportation on June 27, 2013, Baca Herrera reentered the
United States on an unknown date, at an unknown location without being
admitted or paroled after inspection by an immigration officer at a designated port

of entry and without permission by the Departrnent of Homeland Security.

10. On March 15, 2019, a Fingerprint Specialist with U.S. Immigration and
Customs Enforcement, Homeland Security Investigations examined the
fingerprint contained on the Warrant of Rernoval/Deportation dated June 27,
2013, and compared it to the fingerprints that were rolled and taken of an
individual believed to be Neris Baca Herrera by Deportation Officer Orlando
Reyes on March 8, 2019. The Fingerprint Specialist determined that the

fingerprints were made by the same individual, Neris Baca Herrera.

11. A search of ICE databases revealed that Baca Herrera had never received
permission to reenter the United States from the United States Attorney General
or the Secretary for Homeland Security, subsequent to his last deportation on June

27, 2013.

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12. Based on the above information, l have concluded that, to the best of my
knowledge and belief, there is probable cause to believe that, the Defendant, Neris
Baca Herrera, is presently in the United States, in violation of Title 8, United States
Code, Section l326(a) and possessed a counterfeit document as evidence of

authorized stay in the United States in violation of Title 18, United States Code,

Section 1546(a).

 

Roger Mas~,.D.e\pbrTation Officer

U.S. Departrnent of Homeland Security
lmmigration and Customs Enforcement

l » /
Sworn and subscribed to me this ?7 day
of March 2019, in Fort Myers, Florida.

MWM

DC`)'UGHAS N. PRAZI§R
UNITED sTATEs MAGISTRATE JUDGE

